Case 18-40938-rin11 Doc 1 Filed 03/07/18 Entered 03/07/18 11:51:18 Page 1 of 4

Flll in this information to identify the case:

Unlted Siates Bankruptcy Coun for lhe:

Nonhem Dlsmct of Texas (Fort Worih Div.)
EW»"_"_

Case number urmwn); 18- Chapter 11 Cl Check if this is an
amended filing

 

 

Ofl”ccial Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy ome

if mere space la needed, attach a separate sheet to this form. On tha top of any additional pages, write the debtor's name and the case
number (If known). For more information, a separate document, instructions for Bsnkruptcy Fonns for Non-indlvlduals, is availabie.

..a
.

Debtor's name Total Diagnostix Labs. LLC

 

 

2. Ail other names debtor used La Cquentia Series- LLC
in the last 8 years

 

 

 

include any assumed names.
trade names, and doing business
as names

 

 

 

a. Debtor’s federal Empleyer 4 7 _1 0 5 4 9 5 5

 

 

 

 

 

 

ldentltication Number (ElN) _ _ _______
4_ Debtor’s address principal place of business Mall|ng address, if different from principal place
of business
4770 Bryant irvin Court, Suite 400
Number Sireei Number Sireet
P.O. Box
any Siaie ZiP Code Cily Slaie Z|P Cede

Location of principal assem, li different from
principal place of business

Tarrant
Coumy

 

Number Sireei

 

 

Cliy Siate ZiP Code

 

5. Debtor's website (URL)

 

a Corporalion (including Limited Llabillty Company (LLC) and Limiied Liabllity Partnership (LLP))
Cl Pannersmp (exccuding LLP)
a Other. Speclfy:

s. Type of debtor

 

 

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Neme

1. Descriize debtors business

 

A. Check one:

i;l Health Care Bttslness {as defined in 11 UAS.C. § 101{27A))
m Single Asset Real Estale (as defined in ti U.S.C. § 101(513))
m Rallroad (as defined in 11 U.S.C< §101(44))

fn Stockbrolter (as defined in 11 U.S`C. § 101(53A))

C] Commodily Broi<er (as defamed in 11 UrS‘C, § 101(8))

[;\ Ciearing Bank ies denned in “i°l UlS.C> § 781(3))

1221 None of the above

B. Check ali that appiy:

[:i Tax»exempt entity (es described in 26 U.S,C. § 501)

L_.l investment company, including hedge fund or pooled investment vehicle (as denned in 15 U.S,C_
§ 803~3)

[] investment advisor (as defined in 15 U.S,C. § 80b'2(a)(11))

C. NAlCS (North Amerir'.an industry Claseiftcatlon System) merritt code that best describes denton See
htin;!.ivnw:.usr;nurts.newton§~dtgli~nntigndl»§ssoeiegien~naice»codes .

 

 

 

§_ _1_ ,_2,M m§,.
8. tinder Whir;h chapter of the Check ones
Bankrn;ttcy Code is the
debtorfnwg? 9 Ci‘at“e’ 7
m Citapter 9

s. Were prior bankruptcy cases
tiied by or against the debtor
within the last 8 years»’?

ii more than 2 cases, attach a
separate llst.

m Are any bankruptcy cases
pending or being filed by a
business partner or an
affiiiate of the debtor?

tist atl cases. li more than 1,
attach a separate iist.

D chapter 11. check ar mar appzy;

ill Dehtor*s aggregate itencontingent liquidated debts (exciuding debts owed to
insiders er aitliietes) are less than $2,566,050 (amotmt subject to adjustment mt
4/01/19 and every 3 years after that).

m The debtor is a small business debtor as defined in 11 U,S.C. § 101(51[))` ltlhe
debtor is a small business debtor. attach lite most recent balance sheet statement
of operations, caslt»tlow statement and federal income tax return or ii all of these
documents do not exist follow the procedure in it U.S.G, § 1116(1)(8).

iii A plan is being need with this petition

53 A<:cenlances of the plan were solicited prepetition from one or more classes of
creditorst in accordance with 11 U.S.C, § 1126(1)).

m Tl‘ie debtor is required to tile periodic reports (for examplex 101< and 11)£1) with the
Securilies and Bxchange Commission according to § ta or15(d) ot the Securities
E)<citange Act of1934. Fiie the Atiacnment to Voiuntar}' Petition for Non»ind!vr`ciaraie iri/ing
for Serti<ruptcy wider Chapier 11 (Oiticiat Form 201A) with this form.

§§ The debtor is a shell company as denned in the Securitles §xchange Act of 1934 Rule

 

 

 

 

 

12b~2.
m Chapter 12
m No
m Yes. District v\men Case number
MM / DD / YYYY
Distrlct Wnen » Case number
MM/ DD/ YYYY
523 No
at Yes. Det)tor Reiatlonship
Disttlct When

 

MM l 1313 lYYYY
Case number, it known

 

 

Ofiicial Form 201

\Joluntary Pelilion for Non~lndlvidttais Piling for Barlkruptcy page 2

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new Total Dlagnoslix Labs, LLC ease numbe,a,m, 18-
Nomo

 

 

 

11. Why is the case filed In this Check all that apply

dismct? m Debtor has had lis domicile. principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district

|:] A bankruptcy case oonoemlng_*d§btoi‘s aftiliote"_generel partner, or partnership is pending in this distrch

 

 

12. Does the debtor own or have 9 N°

p°ss°ssl°n of any real Cl Yes. Answer below for each property that needs immediate attention. Attach additional sheets lf naeded.
property or personal property

that needs immediate Why does the property need immediate anontlon? (Check all that apply.)

attention?

n lt poses or ls alleged lo pose a threat of imminent and identifiable hazard to public health or safely.
What is the hazard?

 

Cl lt needs to be physically secured or protected from the woathor.

cl lt includes perishable goods or assets that could quickly deteriorate or lose value without
attention (tor example, llvestock. seasonal goods, meat, dalry, produoe, or securities-related
assets or other options).

n Oiher

 

Whom is the pmporty?
Number Street

 

 

city slate zi""Pcooe

ls the property lnsured?
U No

cl ¥es. insurance agency

 

CCMHG! name

 

Ph°nB

 

Bwt|s¢lcal and admln|s¢muve lnformat|on

 

13. Dobtor's estimation of Check one:

ava"ah'° funds ii Funos will be available ror distribution io unsecured oredliois.
cl After any administrative expenses are pald, no funds will be available for distribution to unsecured oieditors.

 

 

a 149 El 1.ooos.ooo EI 25.00160,000

14~ Es*:|':'t°t°d '“"“b°' °f El 50-99 El 5.001-10.000 El 50.001-100.000

°'° °'8 El 10o199 ij 10,001-25,000 L'.l More than 100.000

El 200999
El sessi),ooo El si,ooo,ooiow million El $500.000,001-$1 billion

“~ E“"'““t°d °9°°°° El ssa,ooimoo,ooo 510.000,001-$50 million El $1.000,000,001-$10 billion
El sioo.ooiesoo.ooo El 550.000.001-$100 million E| $10.000.000.001-$50 villlon
El ssoo,ooioi million l'.'l $100.000.001 -ssoo million ill lviore than 350 billion

 

 

Oflicial Form 201 Voll.lnlary Petitlon for Non~lndividuals Flllng for Bankn.lptcy page 3

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mbm To£ai Diagr“iosti)< Labs, LLC

Case number g.-zwmw)

 

NHY`BS

 

fill $0'$50,0<)@

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ill 350§),001“$1 manion

ie. Estimaied iiabi§ities

CJ 31,000,001»310 million

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w 350`000,001»3100 million
12 sioo.ooo.om»$aoo million

38-

 

iI] ssoo,oou,ooi-si billion

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ill sio(ooo(ooo,o€)i~sso binion
m More than 350 biiiion

 

- Reqxxesi: for Reiief, Declaration, and Signatures

WARN|NG - Bankmptcy fraud is a serious crime». Making a faise statement in connection with a bankruptcy case can result in iines up to
$500,000 or imprisonment fur up fo 20 yearst or boih. 18 UiS.C. §§ 152f 1341, 1519, and 3571.

17~ oec\a"&tif’" and Signatum Of si The debtor requests relief in accordance with the chapter of title 11, Uniied Siates Code, specified in this

authorized representative of

debtor petition

ii i have been authorized to file this petition on behalf of the debtor

§§ | have examinad the information in this petition and have a reasonabie'beiief that the information is true and

CO(fSCf.

l decisive under penalty of peijury that the foregoing is ime and correc:i.

Execu!ed on 317/2018

Sigriature cf authorized representative of debtor

me C%iief Executive Officer

 

Da Aian ivieeker

FI’in€§d i‘!an`}€

 

 

   

18, S§gnaiw~e of attorney )C

 

Signaiure Q:FM ay di debtor

Jeff F’. Prostof<

Daie 3/7/201 8

MM / DD / YY"{Y

 

Frinled name

Forshev & Prostoi<, LLP

Firm name

777 i\/|ain St.. Suite 1290
Number Sireei

 

 

 

 

Fort Worth TX ` 76102
Ciiy Siaie ZiP Code
817-877~8855 j;:)rosfok@forsheyprostok.com
Comact phone £Zmaii zddiess
16352500 Texas
fiat numizer Siaie

 

Of‘iiciai Form 201

Volunta:y Petition for Non~individuais Filing for Barii<rup¢cy

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